 Case 2:90-cv-00520-KJM-SCR                 Document 7838     Filed 05/16/23   Page 1 of 11


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11
12                                     UNITED STATES DISTRICT COURT
13                                     EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                                Case No. 2:90-CV-00520-KJM-DB
16                       Plaintiffs,                     REPLY IN SUPPORT OF
                                                         PLAINTIFFS’ MOTION TO REJECT
17                  v.                                   DEFENDANTS’ PLAN TO PROVIDE
                                                         MINIMUM TREATMENT
18 GAVIN NEWSOM, et al.,                                 STANDARDS FOR PSYCHIATRIC
                                                         INPATIENT PROGRAMS (ECF NO.
19                       Defendants.                     7787) AS INADEQUATE TO REMEDY
                                                         DEFENDANTS’ EIGHTH
20                                                       AMENDMENT VIOLATIONS
21                                                       Judge: Hon. Kimberly J. Mueller
22
23
24
25
26
27
28
     [4289940.11]                                                        Case No. 2:90-CV-00520-KJM-DB
                              REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                  Document 7838       Filed 05/16/23    Page 2 of 11


 1                                               INTRODUCTION
 2                  Defendants’ failure to provide adequate psychiatric inpatient treatment violates
 3 Plaintiffs’ rights under the Eighth Amendment of the U.S. Constitution. See Coleman v.
 4 Wilson, 912 F. Supp. 1282, 1308-09 (E.D. Cal. 1995); Brown v. Plata, 563 U.S. 493, 516
 5 (2011); Coleman v. Brown, 938 F. Supp. 2d 955, 981-982 (E.D. Cal. 2013). In their
 6 Opposition, Defendants do not dispute this ongoing violation. See Defs.’ Opp’n, ECF No.
 7 7828 at 10-15; Declaration of Amar Mehta, M.D. in Support of Defs.’ Opp’n, ECF No.
 8 7828-3 (Mehta Decl.); Declaration of Joseph Penn, M.D. in Support of Defs.’ Opp’n, ECF
 9 No. 7828-1 (Penn Decl.). They concede that poor mental health staffing is a cause of the
10 ongoing problem. See Mehta Decl., ECF No. 7828-3 at ¶ 7.
11                  Neither Defendants nor their psychiatry expert, Dr. Penn, dispute that patients in
12 CDCR’s Psychiatric Inpatient Programs (“PIPs”) are mostly locked down in cells, and
13 therefore cannot benefit from the everyday contact and interaction that occur in a hospital
14 setting—referred to herein as a “therapeutic milieu.” See generally Defs.’ Opp’n, ECF No.
15 7828; Mehta Decl., ECF No. 7828-3; Penn Decl., ECF No. 7828-1 at ¶ 14. Defendants
16 also do not dispute that their proposed minimum standards provide less out-of-cell time to
17 PIP patients than is required for patients in short-term restricted housing. Compare ECF
18 No. 7787 at 5-7 (“Defendants’ Plan”) (10 hours per week of unstructured out-of-cell time)
19 with Mental Health Program Guide, ECF No. 7333-1 at 452 (20 hours per week of out-of-
20 cell activities). Moreover, Defendants and their expert do not dispute that prolonged
21 isolation puts patients at grave risk. See Defs.’ Opp’n, ECF No. 7828 at 16-19; Mehta
22 Decl., ECF No. 7828-3; Penn Decl., ECF No. 7828-1.
23                  Defendants’ Plan—which provides no minimum for structured treatment and only
24 10 hours per week of unstructured out-of-cell activities to psychiatric inpatients—cannot
25 remedy the ongoing constitutional violations in CDCR’s PIPs. See Defendants’ Plan, ECF
26 No. 7787 at 5-7. Therefore, the Court must reject it. See Plata, 563 U.S. at 511. The
27 Court should order Defendants to revise their Plan to provide PIP patients with a minimum
28 of 20 hours of structured treatment and 20 hours of unstructured out-of-cell activities per
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          1
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                  Document 7838       Filed 05/16/23    Page 3 of 11


 1 week. This relief satisfies the requirements of the Prison Litigation Reform Act
 2 (“PLRA”): it is necessary to remedy ongoing violations in psychiatric inpatient care, it is
 3 narrowly tailored to address the violation, and it is the least intrusive means to do so, given
 4 Defendants’ long history repeated violations under less specific orders. See Armstrong v.
 5 Newsom, 58 F.4th 1283, 1296-1297 (9th Cir. 2023).
 6 I.               PLAINTIFFS’ MOTION IS PROCEDURALLY PROPER
 7                  Defendants claim that Plaintiffs’ response to their Plan is a disguised, improper
 8 “motion to modify the Program Guide.” Defs.’ Opp’n, ECF No. 7828 at 21. The Court
 9 has already determined, in adopting the Special Master’s recommendation for treatment
10 standards, that a modification is necessary. The only question is what the modification
11 should be. See Special Master’s Monitoring Report on the Mental Health Inpatient Care
12 Programs for Inmates of the California Department of Corrections and Rehabilitation
13 (Jan. 28, 2021), ECF No. 7039 at 118; Twenty-Ninth Monitoring Round Report – Part A:
14 Special Master’s Monitoring Report on the Psychiatric Inpatient Programs for Mental
15 Health Patients of the California Department of Corrections and Rehabilitation (May 17,
16 2022), ECF No. 7555 at 164-165 (“Special Master’s 2022 Inpatient Report”); Order
17 (Aug. 29, 2022), ECF No. 7608 at 6; Order (Jan. 6, 2023), ECF No. 7697 at 3.
18 Defendants’ Plan is every bit as much a modification of the Program Guide as Plaintiffs’
19 requested relief.
20                  For the same reasons as there are no procedural improprieties with Defendants
21 submitting a plan to provide minimum treatment standards for the PIPs pursuant to the
22 Court’s Jan. 6, 2023 order, there is nothing procedurally improper about Plaintiffs’
23 response. Instead, the questions before the Court are whether Defendants’ Plan is adequate
24 to remedy the constitutional violations in the PIPs, and if not, whether Plaintiffs’ requested
25 relief satisfies the needs, narrowness, and intrusiveness requirements of the PLRA. See
26 Armstrong v. Schwarzenegger, 622 F.3d 1058, 1070 (9th Cir. 2010). In enacting the
27 PLRA, Congress circumscribed, but did not strip away, courts’ jurisdiction to remedy
28 constitutional violations in the prison context. See Plata, 563 U.S. at 526. Indeed, Courts
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          2
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                  Document 7838       Filed 05/16/23    Page 4 of 11


 1 may not order prospective relief that is too narrow to correct a violation. See id. at 511.
 2 Courts must act in the face of ongoing constitutional violations to incarcerated people. Id.
 3 II.              PLAINTIFFS’ PROPOSED MINIMUM TREATMENT STANDARDS ARE
                    NECESSARY
 4
 5                  Defendants’ Plan, which provides no minimum standard for structured treatment
 6 and only 10 hours per week of unstructured out-of-cell time for patients in the PIPs, is
 7 facially inadequate to remedy the Eighth Amendment violations in this case. Defendants’
 8 Plan, ECF No. 7787 at 5-7. The Court should adopt Plaintiffs’ proposed minimum
 9 treatment standards—20 hours of structured treatment per week and 20 hours of
10 unstructured out-of-cell activities—because they are necessary to remedy Defendants’
11 Eighth Amendment violations in the PIPs.
12                  A.     Defendants’ Plan Does Not Specify Structured Treatment Minimums,
                           But Instead Permits Individual Institutions’ Existing Resource
13                         Constraints To Specify Structured Treatment Maximums.
14                  Defendants contend that their proposed “individualized” standard for structured
15 treatment is an effective “minimum standard” because clinicians must prescribe clinically
16 appropriate care. Defs.’ Opp’n, ECF No. 7828 at 15. Clinicians, however, are limited to
17 the set schedules at each facility. See id. at 16. Invariably, the number and type of groups
18 and unstructured activities offered on each PIP schedule is constrained by each PIP’s
19 respective staffing and space resources. Without minimum treatment hour requirements,
20 there is no systemwide lower bound as to how many groups each institution must make
21 available to providers (and thus patients) on a weekly basis. In effect, rather than setting a
22 “minimum” standard for structured treatment, as the Court ordered Defendants to do, their
23 Plan’s entirely individualized structured treatment standard permits each institution’s
24 (often dire) resource constraints to set a “maximum” for structured treatment offerings that
25 no individual clinician or treatment team can prescribe their way beyond.
26                  The Special Master has repeatedly identified severe staffing limitations in the PIPs
27 as a primary driver of inadequate treatment delivery, see, e.g., Special Master’s 2022
28 Inpatient Report, ECF No. 7555 at 35, 160, findings the Court has adopted in full, Order
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          3
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                 Document 7838      Filed 05/16/23   Page 5 of 11


 1 (Aug. 29, 2022), ECF No. 7608. The Special Master’s most recent inpatient monitoring
 2 report repeats these findings. See, e.g., Thirtieth Round Monitoring Report – Part A:
 3 Special Master’s Monitoring Report on the Psychiatric Inpatient Programs for Mental
 4 Health Patients of the California Department of Corrections and Rehabilitation (May 11,
 5 2023), ECF No. 7833 at 49 (“Special Master’s 2023 PIP Report”). The Special Master
 6 recommended that CDCR develop minimum treatment standards for the PIPs because
 7 staffing constraints were dictating patients’ access to treatment, rather than individualized
 8 treatment planning. Special Master’s 2022 Inpatient Report, ECF No. 7555 at 35, 160.
 9 Defendants’ concession that these standards were developed without consideration of the
10 PIPs’ ongoing staffing constraints, Defs.’ Opp’n, ECF No. 7828 at 16, proves Plaintiffs’
11 point: the lack of a structured treatment hour minimum renders Defendants’ plan facially
12 inadequate.
13                  Defendants say that individual treatment planning will solve the problem. The
14 Special Master has found, however, that treatment planning in the PIPs is inadequate.
15 Treatment plans do not match patients’ problems and symptoms, are not updated when
16 clinically indicated, and frequently lacked evidence-based therapies to address patients’
17 needs. Special Master’s 2023 PIP Report, ECF No. 7833 at 68-69. The Special Master
18 observed that the “[f]ailure of programs to provide the type and frequency of treatment
19 hours outlined in the treatment plan was pervasive.” Id. at 70. Defendants’ Plan would
20 place more pressure on the already-failing treatment planning in the PIPs.
21                  B.    Without Minimum Treatment Standards, CDCR’s Inpatients Are At
                          Serious Risk of Languishing In Their Cells For Most Of The Day.
22
23                  Defendants concede that CDCR PIPs have no units “where patients can be safely
24 treated in an unlocked dorm setting.” See Penn Decl., ECF No. 7828-1 at ¶ 14. They also
25 concede that on average, PIP patients attended less than 2 hours per day of structured
26 treatment and out-of-cell activities combined. See Mehta Decl., ECF No. 7828-3 at ¶ 6. In
27 other words, on average, PIP patients remain in their cells upwards of 22 hours per day.
28 This paints a shocking portrait of isolation—both forced and self-imposed—for the most
     [4289940.11]                                                         Case No. 2:90-CV-00520-KJM-DB
                                                         4
                               REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                  Document 7838        Filed 05/16/23    Page 6 of 11


 1 seriously mentally ill patients in CDCR custody. An inpatient hospital setting, by contrast,
 2 “is characterized by a therapeutic milieu, featuring daylong programming, and access to
 3 24/7 medical care.” Declaration of Pablo Stewart, M.D., in Support of Pls.’ Motion to
 4 Reject Defs.’ Plan to Provide Minimum Treatment Standards, ECF No. 7812-2, at ¶ 13
 5 (“Stewart Decl. I”). In such an environment, “the default is that patients are engaging in
 6 either therapeutic clinical contacts, structured group psychological treatment, [or] other
 7 rehabilitative programming, whenever they are not sleeping, eating, performing tasks of
 8 daily living.” Id. Where such a therapeutic milieu exists, minimum treatment standards
 9 are far less necessary. See id. at ¶ 14.
10                  Defendants do not dispute that their Plan offers less out of cell time to PIP patients
11 than is required for Coleman patients in restricted housing. See generally Defs.’ Opp’n,
12 ECF No. 7828; Mehta Decl., ECF No. 7828-3; Penn Decl., ECF No. 7828-1. Defendants
13 also do not contest Dr. Stewart’s opinion that isolation puts patients with severe mental
14 illness at grave risk. Id. Rather, they suggest that because treatment refusals are high
15 among PIP patients, that this risk is somehow mitigated because it is partially self-
16 imposed. See Defs.’ Opp’n, ECF No. 7828 at 14-15, 18; Penn Decl., ECF No. 7828-1 at
17 ¶ 11. While PIP patients have the right to refuse treatment, persistent treatment refusal
18 among acutely ill psychiatric patients should raise alarm bells that there are many patients
19 in CDCR’s PIPs with untreated psychiatric illness and that existing treatment offerings are
20 not working. See Stewart Decl. I, ECF No. 7812-2, at ¶ 51. It is not an excuse to maintain
21 the status quo of treatment delivery.
22                  It is against this backdrop that Defendants challenge Dr. Stewart’s opinions on the
23 need for minimum treatment standards as “unsupported” and “unscientific” because of the
24 methodological approach he took to reviewing patient records and conducting interviews.
25 See Defs.’ Opp’n, ECF No. 7828 at 16-19. These familiar criticisms are easily dispensed
26 with. See Jensen v. Shinn, 609 F. Supp. 3d 789, 855-856 (D. Ariz. 2022) (rejecting Dr.
27 Penn’s objection that Dr. Stewart’s opinion “focused on the most seriously mentally ill
28 prisoners” and finding Dr. Penn’s own approach “deeply flawed”).
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          5
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                 Document 7838       Filed 05/16/23   Page 7 of 11


 1                  First, Dr. Stewart’s randomly selected sample of PIP patients was not “biased”
 2 because the patients inside the sample group had longer-than-average lengths of stay.
 3 Declaration of Pablo Stewart, M.D., in Support of Reply in Support of Pls’ Motion to
 4 Reject Defs.’ Plan, at ¶ 9 (“Stewart Decl. II”). The averages were skewed by two
 5 randomly selected patients with extremely long length of stays in the PIPs (over 1,000
 6 days), whom Dr. Stewart omitted from this analysis to avoid focusing on outliers. Id. at
 7 ¶ 8. Second, Dr. Stewart’s focus on the most seriously ill patients in the PIPs to assess the
 8 quality and amount of treatment offered is a scientifically valid way to approach evaluation
 9 of a health system, one that has been expressly accepted by the federal courts. Jensen, 609
10 F. Supp. 3d at 833-834 (finding that “it makes sense to look to prisoners with serious
11 needs, and in particular, those who suffer adverse outcomes” when assessing the adequacy
12 of a healthcare system). Third, Dr. Stewart’s detailed approach to patient interviews
13 makes clear that the interviews were conducted in an ethical, transparent, and standard
14 manner, bolstered by his prior review of the patients’ clinicians’ notes. Stewart Decl. II at
15 ¶¶ 11-12. Finally, Dr. Stewart’s opinion that the current amount of treatment offered in
16 CDCR’s PIPs is inadequate, which was based on his extensive clinical experience and his
17 review of patient records and interviews, is consistent with the Special Master’s findings,
18 which the Court has adopted. Stewart Decl. I, ECF No. 7812-2 at ¶¶ 45-46.
19                  C.    Plaintiffs’ Plan Is Consistent With State And National Standards And
                          The Program Guide.
20
21                  Minimum treatment standards of 20 hours per week of structured treatment and 20
22 hours per week of unstructured treatment are necessary to ensure that patients in the CDCR
23 PIPs are able to spend the majority of their days outside their cells, engaged in rehabilita-
24 tive activity with other patients and staff. See id. at ¶¶ 11, 48, 50. This approximates, but
25 does not match, the standard of care for inpatient treatment, which is characterized by a
26 therapeutic milieu with all-day programming. Id. at ¶¶ 13-15; see also Cal. Code. Regs.,
27 Tit. 22, § 73425(c)(1)(L)(3) (providing a minimum of 30 hours per week of structured
28 treatment for special subacute psychiatric inpatient programs in the community). Although
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          6
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                  Document 7838       Filed 05/16/23    Page 8 of 11


 1 Defendants’ expert suggests that in community hospitals, the exact number of hours
 2 patients are out of their rooms may vary, see Penn Decl., ECF No. 7828-1 at ¶ 10, he does
 3 not dispute Dr. Stewart’s characterization of the therapeutic milieu and its importance to
 4 inpatient care in the community. Plaintiffs’ proposed standards, which fall short of the
 5 community standard of care, nevertheless strike an appropriate balance between CDCR’s
 6 security concerns and patient health and safety.
 7                  Plaintiffs’ proposed standards are also consistent with national correctional
 8 standards for mental health care—to the extent that they exist at all for “on-site” provision
 9 of psychiatric inpatient treatment. See Stewart Decl. II at ¶ 7. Defendants’ objections to
10 the applicability of the National Commission on Correctional Health Care’s Standards for
11 Health Services in Prisons (2018) Standard P-F-03 to the PIPs, see Defs.’ Opp’n, ECF No.
12 7828 at 9, are grounded in Defendants’ alarming contention that patients in the PIPs should
13 receive less structured treatment than patients at lower levels of care. See Defs.’ Opp’n,
14 ECF No. 7828 at 7; see also Stewart Decl. II at ¶ 5. The Program Guide assumes more
15 intensive treatment provision in inpatient programs, which are to provide a “higher level of
16 care” than the Enhanced Outpatient Program (“EOP”). See Mental Health Program Guide,
17 ECF No. 7333-1 at 63, 107-108, 121.
18                  Plaintiffs’ proposal is also compatible with state licensing requirements for the
19 PIPs. Defendants argue that because California regulations set specific minimum treat-
20 ment standards for community hospitals, the Court should read the omission of such stand-
21 ards from the parallel Correctional Treatment Center regulations as a reason to refrain
22 from remedial action in deference to the state regulatory decision. Defs.’ Opp’n, ECF No.
23 7828 at 7-4. The opposite is true. State policy must give way to the vindication of federal
24 constitutional rights in the face of ongoing and persistent violations. N.C. State Bd. of
25 Educ. v. Swann, 402 U.S. 43, 45 (1971); Stone v. City and Cnty. of S.F., 968 F.2d 850, 862
26 (9th Cir. 1992). Nothing in the state regulations prohibit minimum standards of care in
27 correctional settings. The presence of minimum standards in community hospital
28 regulations is instructive as to the State’s own judgment of what constitutes adequate
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          7
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
 Case 2:90-cv-00520-KJM-SCR                  Document 7838       Filed 05/16/23    Page 9 of 11


 1 inpatient care.
 2 III.             PLAINTIFFS’ PROPOSED MINIMUM TREATMENT STANDARDS ARE
                    NARROWLY TAILORED
 3
                    The Court should find that Plaintiffs’ requested relief is narrowly tailored to remedy
 4
     Defendants’ constitutional failure to provide adequate psychiatric inpatient treatment.
 5
                    A.     Plaintiffs’ Proposal Is Consistent With Treatment Standards Governing
 6                         Defendants’ Provision of Inpatient Care to Coleman Patients at DSH.
 7                  Plaintiffs’ proposed minimum standards of 20 hours of structured treatment and 20
 8 hours of unstructured treatment are neither “arbitrary” nor “overbroad.” See Defs.’ Opp’n,
 9 ECF No. 7828 at 5-6, 11-15. They are, in fact, more modest standards than those tailored
10 to address constitutional rights violations of psychiatric inpatients in California’s state
11 hospitals. Amended Consent Judgment, United States v. California, No. CV 06-2667
12 GPS, (C.D. Cal. 2007), ECF No. 9 at 2, 13, 15-17 (40 hours per week of treatment and
13 rehabilitation, excluding recreation). Plaintiffs’ proposed standards are also more modest
14 than the minimums that Defendants’ own witnesses testified were necessary in the pre-
15 cursor units to the PIPs at Salinas Valley State Prison in 2010. Declaration of Richard
16 Lipon, ECF No. 3932-2 ¶ 3 (35-40 hours per week of programming); Declaration of Vic
17 Brewer, ECF No. 3913-3 ¶ 5 (same). Furthermore, Plaintiffs’ proposed minimum
18 standards are even more tailored to remedy the constitutional violations of patients’ rights
19 in CDCR’s PIPs than they were for patients in DSH, because in CDCR, patients reside in
20 locked cells, without access to a therapeutic milieu.
21                  B.     Plaintiffs’ Proposal Sets an Appropriate Constitutional Floor.
22                  Because CDCR’s PIPs lack a therapeutic milieu, it is undisputed that even if
23 adopted, Plaintiffs’ proposed minimum treatment standards would fail to raise CDCR’s
24 treatment provision to match that in the community. But for the purposes of establishing a
25 narrowly tailored, constitutional floor, 20 hours per week of structured treatment and 20
26 hours per week of unstructured treatment is appropriate, as it provides psychiatric
27 inpatients with minimally adequate treatment.
28                  Defendants concede that 20 hours of structured treatment for psychiatric inpatients
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          8
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
Case 2:90-cv-00520-KJM-SCR                   Document 7838       Filed 05/16/23     Page 10 of 11


 1 is consistent with other state correctional systems, like New York, under remedial order for
 2 alleged constitutional violations. Defs.’ Opp’n, ECF No. 7828 at 19. Indeed, according to
 3 Defendants’ own survey, acceptance of Defendants’ Plan with no structured treatment
 4 minimum, would put California—with its decades-long history of constitutional
 5 violations—at the bottom of the correctional landscape as one of the most laissez faire
 6 states in terms of psychiatric inpatient treatment standards. See Galvan Decl. Ex. C (Email
 7 from Nick Weber to Lisa Ells re: Survey and Responses (Feb. 2, 2023), ECF No. 7812-1 at
 8 36 (summarizing survey responses).
 9 IV.              PLAINTIFFS’ PROPOSED MINIMUM TREATMENT STANDARDS ARE
                    THE LEAST INTRUSIVE MEANS TO REMEDY DEFENDANTS’
10                  CONSTITUTIONAL VIOLATIONS
11                  The Court should find that an order directing Defendants to adopt Plaintiffs’
12 proposed minimum treatment standards is the least intrusive means to remedy Defendants’
13 constitutionally deficient treatment provision in the PIPs.
14                  A.     Minimum Standards Preserve Clinical Discretion.
15                  The Program Guide’s imposition of minimum structured treatment hours for EOP
16 patients leaves ample room for clinical discretion. These minimum standards are paired
17 with a requirement that treatment plans be individualized. Mental Health Program Guide,
18 ECF No. 7333-1 at 58. Further, the EOP Modified subprogram permits treatment teams to
19 appropriately document and track clinically indicated downward departures for patients
20 who are unable to tolerate minimum structured treatment hours. See id. Defendants do not
21 explain why a similar approach could not be utilized in the PIPs. Moreover, to the extent
22 that minimum treatment standards help to ensure effective system-wide planning, they
23 enhance clinical discretion. When the PIPs are adequately resourced, treatment teams
24 have the power to select from a wider pool of treatment offerings to individualize care for
25 patients.
26                  B.     Minimum Standards Do Not Dictate the Types of Treatment Offered.
27                  If the Court elects to grant Plaintiffs’ requested relief, Defendants would also retain
28 control over which types of structured treatment and unstructured out-of-cell activities they
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
                                                          9
                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
Case 2:90-cv-00520-KJM-SCR                  Document 7838       Filed 05/16/23    Page 11 of 11


 1 want to offer to patients. For example, Defendants could elect to allocate the majority of
 2 the 20 hours of structured treatment for acute patients as individual clinical contacts rather
 3 than group treatment, if they view group treatment as less appropriate for acute patients.
 4                  C.     Local Schedules Are Compatible With Minimum Standards.
 5                  Defendants would also remain free to continue to craft different weekly “schedules”
 6 for each PIP, tailored to each institutions’ particular needs and preferences. The difference
 7 would be that under Plaintiffs’ proposed treatment standards, each PIP would be required
 8 to create schedules sufficient to offer every patient at least 20 hours of structured treatment
 9 per week and 20 hours of unstructured treatment per week, rather than let present resource
10 constraints drive scheduled offerings. This would create a durable constitutional floor that
11 would protect CDCR’s most vulnerable mental health patients.
12                                                 CONCLUSION
13                  Plaintiffs respectfully request that the Court reject Defendants’ proposed plan to
14 provide minimum treatment standards for psychiatric inpatient programs (ECF No. 7787)
15 as inadequate to remedy the Eighth Amendment violations present in this case. Plaintiffs
16 further move the Court to find that Plaintiffs’ requested remedy satisfies the need,
17 narrowness, and intrusiveness requirements of the PLRA and order relief accordingly.
18
19                                CERTIFICATION OF ORDERS REVIEWED
20                  The undersigned counsel for Plaintiffs certifies that she reviewed the following
21 relevant court orders: ECF Nos. 7765, 7697, 7608, 7605, 6370, 5710, 4120, 3945, 3929;
22 Brown, 938 F. Supp. 2d at 990; Wilson, 912 F. Supp. at 1324.
23
24 DATED: May 16, 2023                              Respectfully submitted,
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26                                                  By: /s/ Arielle W. Tolman
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27
28                                                  Attorneys for Plaintiffs
     [4289940.11]                                                          Case No. 2:90-CV-00520-KJM-DB
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                                REPLY ISO PLS.’ MOTION RE PIP TREATMENT STANDARDS
